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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                Eastern Division

Jane Bishoplillegard
                                         Plaintiff,
v.                                                        Case No.: 1:15−cv−06608
                                                          Honorable Milton I. Shadur
Velocity Investments, LLC, et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 30, 2015:


        MINUTE entry before the Honorable Milton I. Shadur:Plaintiff did not appear for
the status hearing on 9/30/2015.Mailed notice(clw, )




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